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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION


IN RE: ANTHEM, INC., CUSTOMER DATA
SECURITY BREACH LITIGATION                                                             MDL No. 2617


                                       TRANSFER ORDER


        Before the Panel:* Plaintiff in an action pending in the Southern District of Indiana moves
under 28 U.S.C. § 1407 to centralize pretrial proceedings in this litigation in the Southern District
of Indiana. This litigation consists of seventeen actions—seven actions pending in the Southern
District of Indiana, five actions in the Central District of California, and one action each in the
Northern District of Alabama, the Eastern District of California, the Northern District of California,
the Northern District of Georgia, and the Southern District of Ohio—as listed on Schedule A.1

       With one exception,2 all responding parties agree that centralization is warranted, but
disagree about the most appropriate transferee district. In addition to the movant, plaintiffs in
twenty-one actions and potential tag-along actions support centralization in the Southern District of
Indiana, as does common defendant Anthem, Inc. (Anthem) and numerous affiliated entities, each
of which is named in one or more of the actions or potential tag-alongs.3 Plaintiffs in eleven actions


       *
        Certain Panel members who could be members of the putative classes in this litigation have
renounced their participation in these classes and have participated in this decision.
       1
        The Panel has been notified of 89 related actions pending in 29 different districts. These
and any other related actions are potential tag-along actions. See Panel Rules 1.1(h), 7.1, and 7.2.
        2
          Plaintiff in a potential tag-along action pending in the Northern District of Illinois (Ross),
which involves allegations against a defendant class of Blue Cross Blue Shield entities that are not
affiliated with Anthem, opposes inclusion of Ross in this MDL. Plaintiff’s objections are premature.
The proper approach is for plaintiff to present her arguments by moving to vacate if we issue an
order conditionally transferring her action to the MDL. See Rule 7.1. Or plaintiff may request that
the transferee judge remand her action to the transferor court. See Rule 10.1.
       3
         Each of the following Anthem-affiliated entities is named in one or more of the actions on
the motion and support centralization in the Southern District of Indiana: The Anthem Companies,
Inc.; The Anthem Companies of California, Inc.; Anthem Blue Cross Life and Health Insurance
Company; Blue Cross of California, d/b/a Anthem Blue Cross; Blue Cross and Blue Shield of
Georgia, Inc.; Community Insurance Company d/b/a Anthem Blue Cross and Blue Shield; Empire
Healthchoice Assurance d/b/a Empire Blue Cross and Blue Shield; Empire Healthchoice HMO, Inc.
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and potential tag-along actions suggest instead that this litigation be centralized in the Northern
District of California. Plaintiffs in another five actions and potential tag-along actions suggest
centralization in the Central District of California, while plaintiffs in five potential tag-along actions
advocate for centralization in the Southern District of California. The Eastern District of California
and the District of Connecticut are each proposed as the transferee district by one potential tag-along
plaintiff. Finally, several plaintiffs alternatively suggest the Central, Northern, or Southern Districts
of California, respectively.

         On the basis of the papers filed and the hearing session held, we find that these actions
involve common questions of fact, and that centralization in the Northern District of California will
serve the convenience of the parties and witnesses and promote the just and efficient conduct of this
litigation. These actions share factual questions arising from a data security breach that allegedly
occurred sometime between December 10, 2014, and February 4, 2015, and resulted in the electronic
theft of personally identifiable information and personal health information of, by one estimate, some
80 million current and former health insurance plan members and employees of Anthem or its
affiliated health insurance companies. All of the actions are putative class actions, many of which
are nationwide in scope. Centralization will eliminate duplicative discovery, prevent inconsistent
pretrial rulings, particularly with respect to class certification, and conserve the resources of the
parties, their counsel, and the judiciary.

         We are presented with a number of potential transferee districts, as this litigation is
nationwide in scope. After weighing all relevant factors, we select the Northern District of
California as the transferee district for this litigation. Numerous plaintiffs support centralization in
this district, both in the first instance and in the alternative. And, although headquartered in Indiana,
Anthem has significant ties to California, where it is the largest for-profit health insurer and
maintains several offices. Eleven of the more than one hundred actions are pending in the Northern
District of California. This district thus presents a convenient and accessible forum with the
necessary judicial resources and expertise to manage this litigation efficiently. By appointing the
Honorable Lucy H. Koh to preside over this matter, we select a jurist with multidistrict litigation
experience and the ability to steer this large and potentially complicated litigation on an efficient and
prudent course.




        3
         (...continued)
d/b/a Empire Blue Cross and Blue Shield; Anthem Health Plans of Kentucky, Inc. d/b/a Anthem
Blue Cross and Blue Shield; Anthem Health Plans of Virginia, Inc. d/b/a Anthem Blue Cross and
Blue Shield; Rocky Mountain Hospital and Medical Service, Inc. d/b/a Anthem Blue Cross and Blue
Shield; Anthem Life Insurance Company; Anthem Health Plans, Inc. d/b/a Anthem Blue Cross Blue
Shield; and Anthem Insurance Companies, Inc. Additional Anthem-affiliated entities are named in
certain potential tag-along actions.
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       IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the Northern District of California are transferred to the Northern District of California and, with the
consent of that court, assigned to the Honorable Lucy H. Koh for coordinated or consolidated pretrial
proceedings.


                                        PANEL ON MULTIDISTRICT LITIGATION



                                        __________________________________________
                                                       Sarah S. Vance
                                                           Chair

                                        Marjorie O. Rendell             Charles R. Breyer
                                        Lewis A. Kaplan                 Ellen Segal Huvelle
                                        R. David Proctor                Catherine D. Perry
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IN RE: ANTHEM, INC., CUSTOMER DATA
SECURITY BREACH LITIGATION                                           MDL No. 2617


                                       SCHEDULE A


           Northern District of Alabama

     JULIANO v. ANTHEM, INC., C.A. No. 2:15-00219

           Central District of California

     KIRBY v. ANTHEM, INC., ET AL., C.A. No. 2:15-00820
     HOOD v. ANTHEM, INC., ET AL., C.A. No. 2:15-00918
     DOE v. ANTHEM, INC., ET AL., C.A. No. 2:15-00934
     MORRIS v. ANTHEM, INC., ET AL., C.A. No. 8:15-00196
     LIU v. ANTHEM, INC., ET AL., C.A. No. 8:15-00215

           Eastern District of California

     POWELL, ET AL. v. ANTHEM, INC., ET AL., C.A. No. 2:15-00314

           Northern District of California

     GIOTTA v. ANTHEM, INC., ET AL., C.A. No. 5:15-00618

           Northern District of Georgia

     D'ANGELO, ET AL. v. ANTHEM, INC., ET AL., C.A. No. 1:15-00371

           Southern District of Indiana

     MEADOWS v. ANTHEM, INC., C.A. No. 1:15-00163
     KEYSER v. ANTHEM, INC., C.A. No. 1:15-00178
     GARSON v. ANTHEM, INC., ET AL., C.A. No. 1:15-00180
     PANTUSO v. ANTHEM INSURANCE COMPANIES, INC., C.A. No. 1:15-00181
     KASLOWITZ v. ANTHEM, INC., C.A. No. 1:15-00188
     WEINBERGER v. ANTHEM, INC., ET AL., C.A. No. 1:15-00201
     BRESCIA v. ANTHEM, INC., ET AL., C.A. No. 1:15-00203

           Southern District of Ohio

     MCKINLEY, ET AL. v. ANTHEM, INC., C.A. No. 1:15-00096
